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                           EXHIBIT A
                            smobley(1)



                                                            1

 1

 2             IN THE COURT OF COMMON PLEAS

 3       FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

 4              CRIMINAL TRIAL DIVISION

 5

 6

 7   COMMONWEALTH

 8      vs.

 9   SHAWN MOBLEY          :CP-51-CR-0003485-2016

10

11                   April 3, 2017

12     Courtroom 704, Criminal Justice Center

13            Philadelphia, Pennsylvania

14

15                       MOTION

16

17

18

19 BEFORE:    THE HONORABLE VINCENT MELCHIORRE, J.
20

21

22

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                          smobley(l)

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 1

 2 APPEARANCES:

 3 ZACHARY WYNKOOP, ESQUIRE
   Assistant District Attorney
 4 For the Commonwealth

 5 BERTO ELMORE, ESQUIRE
   Counsel for the Defendant
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                                    smobley(l)

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 1

 2                             I NDEx

 3                   COMMONWEALTH'S EVIDENCE

 4   WITNESS                  DIR.      CR.    REDIR. RECR.

 5 Officer Farley               8        20       37

 6                      EXHI BI T s

 7   NUMBER    DESCRIPTION                     FOR ID

 8                      (None marked.)
 9                           I NDEX

10                      DEFENSE EVIDENCE

11   WITNESS                  DIR.      CR.    REDIR. RECR.

12                          (None called.)

13                           E XHI BI T S
14   NUMBER    DESCRIPTION                    FOR ID

15   D-1       Photograph                        26

16   D-2       Photograph                        26
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17   D-3    Photograph                     26

18   D-4    Photograph                     28

19   D-5    Notes of testimony             35

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 1                COMMONWEALTH VS MOBLEY

 2                THE CRIER:     Okay.     This is Case No.

 3             3, Shawn Mobley.

 4                It's my understanding defense has a

 5             motion to suppress?

 6                MR. ELMORE:     Yes, I do, Judge.

 7             Judge, I want to ask the Court, does

 8             the Court mind if I remain seated?

 9                THE COURT:     No.     The DA may remain

10             seated as well.

11                MR. WYNKOOP:     Thank you, Your Honor.

12                THE COURT:     And Mr. Mobley is in the

13             room.
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                              smobley(1)

14                MR. ELMORE:     Yes.

15                THE COURT:     Police Officer Keyes is

16             the Commonwealth's expert witness is in

17             thg room.

18                And the other officer?

19                MR. WYNKOOP:     That officer is not on

20             this matter.

21                THE COURT:     Okay.     Sequestration is

22             in effect, and defense you may state

23             your grounds.

24                MR. ELMORE:     Your Honor, I have a

25             motion to suppress that the evidence



                                                               5

 1                COMMONWEALTH VS MOBLEY

 2             seized in this particular case, the

 3             drugs, were seized in violation of the

 4             United States Constitution, 4th

 5             Amendment, also under the Pennsylvania

 6             Constitution, Article I, Section 8.

 7                Your Honor, in this particular case,

 8             we have a motion to suppress that the

 9             search warrant, well, there's two or

10             three prongs in this particular case;
                                Page 5
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                            smobley(1)

11            one, is that the entry and search of

12            the premises by the police officer, the

13            initial police officer was done without

14            permission.   There's no exigent

15            circumstances to enter the prem -- to

16            enter the premises.

17               Number two, there was a search

18            warrant issued, but based on the fact

19            that the search warrant would be

20            invalid because the warrant was

21            obtained after illegal entry into the

22            house, and then search of the premises.

23            Then the arrest of my client obviously

24            is tainted and anything recovered from

25            him are fruits of the poisonous tree



                                                           6

 1               COMMONWEALTH VS MOBLEY

 2            from the illegal entry into the house.

 3               Basically, Judge, what we have is a

4             house and the officers entry into that

5             house is in violation of the

6             constitution, as well as the Rules of

7             Criminal Procedure in terms of the
                             Page 6
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                             smobley(l)

 8            manner of entering a person's house.

 9               And it's also one of the areas at

10            issue that I'm going to raise in terms

11            of no knock.     They just went inside the

12            house.    So they're bringing in the

13            Rules of Criminal Procedure as well.

14               THE COURT:     Okay.     Thank you.

15               You may proceed.

16               MR. WYNKOOP:     Your Honor, if I

17            could, I just wanted to clarify in

18            Courtroom 704, do you do the motion to

19            quash after we do the motion to

20            suppress because I have a motion to

21            quash here that I believe we were doing

22            that first?

23               THE COURT:     I had no idea there was

24            a motion to quash.

25               MR. WYNKOOP:     I do have a copy of a


                                                              7

 1               COMMONWEALTH VS MOBLEY
 2            motion to quash from Mr. Elmore.         I

 3            don't know if he filed it with the

 4            Court.
                               Page 7
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                             smobley(l)

 5               MR. ELMORE:     Oh, no, we're not doing

 6            that.     That was just one of the things

 7            I checked.

 8               MR. WYNKOOP:     Understood.

 9               Then Your Honor we're ready for a

10            motion to suppress.

11               THE COURT:     So there is no motion to

12            quash?

13               MR. ELMORE:     No.

14               THE COURT:     Because we had talked

15            about this earlier, and that wasn't

16            mentioned.    So counsel verified there

17            is no motion to quash.

18               MR. WYNKOOP:     And with the Court's

19            permission, the Commonwealth would call

20            Police Officer Farley.

21               THE COURT:     Thank you.

22               THE CRIER:     Please remain standing.

23            State for the record your name, spell

24            your name, badge number, your

25            assignment please.


                                                              8

 1               COMMONWEALTH VS MOBLEY
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 2                   OFFICER FARLEY:       Police Officer

 3                Steven Farley, with a v, F-a-r-1-e-y,

 4                Badge No. 4716, currently assigned to

 5                the 19th District.

 6                   THE CRIER:     Raise your right hand.

 7                   OFFICER FARLEY, having been duly

 8                sworn, was examined and testified as

 9                follows:

10                   THE COURT:     Good morning.

11                   THE WITNESS:     Good morning, Your

12                Honor.

13                   THE COURT:     You may proceed.

14                   MR. WYNKOOP:     Thank, Your Honor.

15

16                         DIRECT EXAMINATION

17

18   BY MR. WYNKOOP:

19   Q.     Officer Farley, good morning.

20   A.     Good morning.

21   Q.     Officer Farley, I want to take you back to

22 March 1st of last year.        Were you working then as
23   a Philadelphia police officer?

24   A.    Yes.

2S   Q.     And. specifically, what district were you
                                  Page 9
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                               smobley(l)



                                                                  9

 1                    COMMONWEALTH VS. MOBLEY

 2 working in, Officer Farley?

 3   A.     The 19th District.

 4   Q.     And does that district encompass 728 North

 5 63rd Street?

 6   A.     Yes.

 7   Q.     And did your tour of duty take you to that

 8   location that evening?

 9   A.     It did.

10   Q.     And was that approximately 10:30 p.m.?

11   A.     Yes.

12   Q.     Officer Farley, at that date, time, and

13   location did you encounter anybody that you see

14   in the courtroom today?

15   A.     Yes.   The gentlemen with the -- it looks

16   like a blue sweater.

17                    MR. WYNKOOP:     By point of finger and

18             article of clothing, the officer has

19             identified the defendant for the

20             record, Your Honor.

21                    THE COURT:     So noted.

22   BY MR. WYNKOOP:
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                                  smobley(l)

23   Q.       Officer Farley, when you first encountered

24   the defendant that evening, where was he?

25   A.       On the side of the house.        Your Honor, it



                                                                  10

 1                    COMMONWEALTH VS. MOBLEY

 2   was like a twin, a twin house, so it was towards

 3   the rear of the home and on the side.

 4   Q.       And is there anybody else outside with this

 5   defendant?

 6   A.       Yes, there were multiple people.

 7   Q.       And can you describe for His Honor the

 8   scene that you came upon when you arrived on the

 9   location?

10   A.       It looked like there was a disturbance out

11   there.   There was a lot of yelling and screaming.

12                    MR. ELMORE:     Objection.    I would ask

13                that he be instructed to testify not          to

14                what it   seems, but what he saw.

15                    THE COURT:     Well, I mean he has to

16                see it and process it, so what is it

17                that you saw?

18                    THE WITNESS:     Yelling back and

19                forth.
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                               smobley(l)

20   BY MR. WYNKOOP:

21   Q.     Officer Farley, what other information led

22   you to believe that there was a disturbance going

23   on at that location?

24   A.     I spoke to both parties.        I spoke to the

25   defendant.     I spoke to -- the defendant stated to



                                                                11

 1                   COMMONWEALTH VS. MOBLEY

 2 me that he ~ the ~roperty and that he was the



 4
     --------
     landlord of the property.     And the other people,

     I believe, they were tenants on the third floor.

 5 There was multiple people and I spoke to them and

 6   there had been a dispute over shutting off the

 7   electricity.

 8   Q.     Where were the electrical panels?

 9   A.     In the basement.

10   Q.     And who was it that was trying to shut off

11   the electricity?

12   A.     The defendant.

13   Q.     And, Officer Farley, when you said that you

14   arrived and there were parties yelling, was the

15   defendant one of those parties?

16   A.     Yes.
                                 Page 12
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                             smobley(l)

17   Q.     Officer Farley, after your initial

18   assessment of what's going on at the scene, did

19   you interact again with the defendant?

20   A.     Yes.   After, Your Honor, after we thought

21   we had straightened or did the best we could to

22   straighten out the initial dispute as far as the

23   landlord and the tenant electricity, the

24   defendant came back.   He's out front speaking to

25   my partner.   I was speaking to the other party.



                                                            12

 1                 COMMONWEALTH VS. MOBLEY

 2   When we were getting ready to leave he said he

 3   was leaving and he needed to retrieve his keys.

 4   He said he left them in the basement.

 5                 When we went back to       there was a

 6   metal gate outside the steps, Your Honor.

 7                 So there was a metal gate, the door,

 8   like a chain door if I recall correctly, and it

 9   led down the steps to a little landing and then

10   on the left side there was a door that led into

11   the basement. 'On the;very top where t~e metal

12   gate was, there was a chain and a padlock that

13   had been placed on there.     It was not a
                                 Page 13
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                                                                                     smobley(l)

            14 combination lbck but one with a key and it had

            15     been placed there by the third floor --

            16                                                     MR. ELMORE:                  Objection.                     He didn't

            17                                        see it.

            18                                                     THE COURT:                Unless he has specific

            19                                       knowledge.

            20                                                     THE WITNESS:                   The gentleman told me

            21                                       that he put the lock'on,the door.

            22                                                     THE COURT:                The third floor tenant

            23                                       said that?

            24                                                     THE WITNESS:                   Correct.                   I. believe
                                                                                                                 "•1,


            25                                       his              name was "I:·brahim How.ard (ph).



                                                                                                                                                         13

             1                                                     COMMONWEALTH VS. MOBLEY

             2    A.                      S.o at that-point the door was.unlocked.
                                          - - -..__,.... _~;..-.....-~--- ....... ·~. ---..... ..__~_....,,.;..i:,...,....__,,, ___... ____ ~·-···
                                                                                                                                                     I

             3    went back into the basement with the defendant

f0ch{ -      4
                 §~_g__ w_~t_h__~f-~~-c-~::-- Leej ~~~W~t;:".
             5
                                         :~~t~-M;~e~~'7t!¥-::l~ ... )~~~:)\·
     ~- 6 bvq1t m;:i~\ijJJFI~!.
     ! ,.
                 ~__,_,T__:!..;_,;_<~:--~···~·r.~P...-'-~""''":;.~l);~-


             7    Q.                      Officer Farley, if we could pause for a
             8    second and go back.                                          When the defendant

             9    discovered the padlock on his basement door what

            10    was his reaction?
                                                                                         Page 14
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                                         smobley(l)

11   A.             He was upset, and he said they couldn't do

12   that.

13   Q.             Okay.   And how was anybody able to get that

14 padlock off?
15   A.             The gentleman had told me that he locked
                                                      ,!       :1
16   .H, he had the key,; an~ he unlocked it.

17   Q.             And can you describe for the Court how you

18   end up in the basement with the defendant?

19   A.             We were still just kind of talking, like

20   still just doing the job, following him, went

21   down with him, just to assist him with finding

22   his keys.          I had my flashlight.                                           We just went

23   down in the basement.

24   Q.             And throughout the evening the

25   conversations you were having with the defendant



                                                                                                                                 14
 1                          COMMONWEALTH VS. MOBLEY

 2   that night, what was the basis of those

 3   conversations?

 4 A.               Just everything as far as what he was doing

 5   as a landlord.

 6   Q.

 7   -tfu_r;,.-cb.as_e)JLeo_L_d.,Qg~__ :tb_e_.,ci_~fendant remain .~IJ"~t_he
     ./ c   ~; -;                          .,...., .........    ,..,.-..q-....:.·~·-'"·-·-·,- ... -   ......~--;-"''-··__;._,-

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 9   A.                   Yes.            He was looking around for, he said

10   his keys.                      Your Honor, I remember when I went

11   down, on the right-hand side, there was, it

12   looked like shelving there, was a set of keys

13   hanging.                     I did notice the defendant walked by

14   them and not grab them.                                                 He seemed
                                                                                   .... -
                                                                                          to be- .pacin_g
                                                                             ~----··-·-··--->•       --"'--~--~····     ~-    -~-




15   back and forth.                                    He stated to me ----- he ·-··--·-·-
                                                                                   stated to
                                                                                ------~--        ""'   ..-     -~---,




16   me that he thought the tenants stole his keys,

17   and I told him that I didn't believe that

18   happened because I hadn't seen anyone go to the

19   basement, and I pointed out,
                             ...... - I ..said,
                                            . . __ - - nAre
                                                        ,. .. _.._,.,____those
                                                                          -p-----·- -..   --~·   ~




20   X€?_~~-~-~1'~.L~gh:L!h~r~_?.... ArnL.i~.1_~:Lrea~ ..9.~!.s.tsJ1e

21     _. . ,. • __''.Q.~_ 1 _yeah,
     said
     ~·-•'                     ".. _,. _., . ---.. the1
                                                     -- ...._·re
                                                 -~,,..._     ..... _..,mine,"
                                                                    -.L~....,. ··- "•··-··• - . . . :. and
                                                                                                       . . . . ,. . . -.. we exited
                                                                                                             --------~-           . . ---...the
                                                                                                                                            ..
                                                                                                                                        ._..,.,,~




22   basement.
     .............--.
               ---~--·-




23   Q.                   After you exited the basement, did you and

24   your partner leave the scene?

25   A.                   We were getting ready to, we were going to



                                                                                                                                                    15

 1                                           COMMONWEALTH VS. MOBLEY

 2   tgy - - wel.l not try.                                            I spoke to the defendant

 3   and the defendant said there were two key~ to th~
                                                                   f
4    lo~cks,              and vJe worked qut: an, agreement where he
                                                                           Page 16
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                                                                                        ~
                                                                                        ~·




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 5 ~asi going to keep a Js..ey and the tenant was going

 6   to k,eep a. key.
                  ~
                      r;Jk
                   . ~d when 0: went to give· him .QiS_,::k~Y) r; Is~
 7
                                        -          .._.. -
 8 I noticed the defendant left the location and at
 9   that point I also noticed the chain, I don't

10   recall if the lock was gone, but I know that the

11   chain was gone because we weren't able to secure

12   the door.

13   Q.        And as a result of you and your partner not

14   being able to secure the basement door, what did

15   you do next?

               I went back into the basement.         When we

17   went in there he had referred to it as his

18   office.

19   Q.        When you say "He referred to it as his

20   office," who are you referring to?

21   A.        I'm sorry.    The defendant.

22   Q.        ?_kay ~- . ~~-~~-- ~e-~e you looking for down
23   there, when you returned to the basement?

24   A.        Just something to secure the door.          Because

25   it looked l~~~.-~_h_e, you know 1 _being th_e hrndlord,



                                                                   16

 1                      COMMONWEALTH VS. MOBLEY
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                                                                                      smobley(l)

 2    I was kind of hoping to find something to secure

 3   the doo_r .wJth.

 4   Q.                       And did you eventually find something to

 5    secure the door with?

 6   A.                       Well, later on.

 7   Q.                       I'll rephrase that question, Officer

 8    Farley.                          Did you find something to secure the

 9   door within the basement?

10   A.                                        tt,-t~~a't.'.(t;-tme,. :~... w:~\\~·~:~J.Q)~-~h~.
11   ba:~ern~ll!~x)'O!J£,.HQ,.QO~; '<~ ·•. st,9~~£4. r:iQ:t:;ijC~i::t~~mpr.e.:~so
       ·~:.:~~~.~~~J:·~~:...\,,~E:.:;4..~~-)~: ;.;.~ ..:l::~~.,-·2"-i& ~~,~.L12;..E.. .,;,.;,~~~ ~"'

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                       matiju;Pn.a .sm~t''·
     -....:~~·-;..---·~-...• -~·..-.....
                                            f . s~,SIE.!:;~p
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                                       ·J«---~~~-~n~·~·-~-:,.                                     ~--n·:• ~'4:'\"""t\'.'_,,;;·,:




13   smE)ping Llf.}burnt m9t~j,ua~a.                                                                     And as I was walking
        . .:.'-~'""-..-~~-"'·....:.,_:_, ~- '·~..,...:...-~··-··-~--;1;4-,,,,,.,,_.,~--·z:':'··

14   just looking for something to secure the door

15   with, I noticed in the back, the_!ear.part of the

16   basement, there's a desk and I saw unused

17   baggies.                           I      recognized the packaging material for

18   narcotics and I also saw a digital scale sitting

19   on top of the desk.

20                                                   And then I also saw a bag on the

21   floor and it had bulk marijuana in there.

22   Q.                      And, Officer Farley, you mentioned during

23   your testimony today, that at different !imes you

24   s(lle.lled· bpth burn.t and unburnt marijuana in the

25   basement.                              Can you describe to the Court what you
                                                                                          Page 18
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                                                            17

 1                    COMMONWEALTH VS. MOBLEY

 2   believe the difference between the two to be?

 3   A.     It's kind of hard to describe, Your Honor.

 4   It's just more off of experience.        Like I can

 5   tell you what a raw onion smells like and what a

 6   fried onion smells like but I don't know if I can

 7   articulate it.     There's definitely a difference

 8   though, that I recognize.

 9                    THE COURT:     If I may, the burnt

10             would be after someone smoked

11             it?

12                    THE WITNESS:    Yes, it just has a

13             different smell to it.

14   BY MR. WYNKOOP:

15   Q.     Now you described the different smells,

16   Officer, and you mentioned your experience.

17                    How long have you been a member of

18   the Philadelphia Police Department?

19   A.     A little bit over seven years.

20   Q.     And in those seven years, how much time

21   have you spent in the 19th Police District?

22   A.     The whole time, I've been in the 19th
                                   Page 19
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23   District.

24   Q.     And in your time in the 19th Police

25   District, prior to March 1st of 2016, which would



                                                             18

 1                 COMMONWEALTH VS. MOBLEY

 2   have been approximately six years on the job, had

 3   you encountered marijuana before?

 4   A.     Correct.    Yea.   I wouldn't say daily but 89

 5   percent of my time that I patrol, I do smell

 6   burnt marijuana and a lot of the times, I smell

 7   unburnt marijuana also.

 8   Q.     Other than smelling burnt and unburnt

 9 marijuana as a police officer, have you seen

10   marijuana?

11   A.     Yes.

12   Q.     Approximately how many times have you seen

13   it?

14   A.     If I had to guess, I would say in the

15   hundreds, maybe even into a thousand times.

16 Q.       And based on your experience, did you

17   recognize that baggie in the basement to contain

18   marijuana?

19   A.     Yes.
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                                      smobley(l)

20   Q.         Officer Farley, upon noticing unburnt

21   marijuana, the scale and the baggie what action

22   did you take next?

23   A.         At that point I went and told Officer Lee

24   what I had discovered, and while speaking to

25   Police Officer Lee I saw the defendant walking



                                                                  19

 1                         COMMONWEALTH VS. MOBLEY

 2   southbound on 63rd Street.            He had the chain in

 3   his hand.          We came up and at that time, I placed

 4   him under arrest.          I notified my supervisor, and

 5   other 19th District personnel secured the

 6   location and obtained a search warrant.

 7   Q.         Now, Officer Farley, i f we could go back

 8   for just a second, when you and the defendant

 9   initJ.aTty
        ,, -,,;_;''
              <~'l,.
                    go int<o. :the ba~~met:i:tf, who goes,1down

10   first?

11   A.        The defendant.

12   Q.        And as you go after him and you two were

13   talking did he turn around and say "Stop"?

14                         MR. ELMORE:    Your Honor, I'm going

15                     to object.    I've given him a lot of

16                     leeway, I believe, to leading
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17                questions.

18                    I'm going to now object.

19                    THE COURT:     I'm going to sustain it

20                as to the question, did he say.        You
21                have to ask something like did the

22                defendant say anything.      You don't

23                suggest an answer in the question.

24                    So I'll sustain that.

25   BY MR. WYNKOOP:



                                                                   20

 1                    COMMONWEALTH VS. MOBLEY

 2   Q.     Other than the conversation that you were

 3   having about the landlord/tenant dispute, as you

 4   were entering into the basement, did the

 5   defendant say anything else to you?

 6   A.     No.

 7                    MR. WYNKOOP:     Your Honor, I don't

 8                have any further questions.

 9                    I'd offer for cross.

10                    THE COURT:     Thank you.
11                    You may cross.

12

13                     CROSS-EXAMINATION
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                               smobley(l)

14

15   BY MR. ELMORE:

16   Q.     Officer, now you just testified there was a

17   landlord/tenant situation at that location; is

18   that correct?

19   A.     Yes.

20   Q.     And most of the time -- isn't there

21   directives that police don't get involved in

22   landlord/tenant disputes?

23                    MR. WYNKOOP:     Objection, Your Honor.

24                    It's irrelevant through speculation.

25                    THE COURT:     Well, I mean, he can



                                                                  21

 1                    COMMONWEALTH VS. MOBLEY

 2             answer the question.          Whether he may or

 3             may not know, I mean, I don't know if

 4             it makes a difference.

 5                    THE WITNESS:    Your Honor, we respond

 6             very often to landlord/tenants.          What

 7             we do is we advise both parties, it's a
 8             civil matter not a police matter.

 9                    THE COURT:     If there's an

10             altercation of some sort?
                                   Page 23
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                               smobley(l)

11                    THE WITNESS:    Yea, if there's an

12             altercation, yes.

13   BY MR. ELMORE:

14   Q.     And this situation you explained to the

15   parties that it was a civil matter; isn't that

16   correct; whether he had the ability to turn off

17   the lights or --

18   A.     Well, it's illegal for the landlord to just

19   shut off the power or the water.

20   Q.     Isn't that a civil matter?

21                    MR. WYNKOOP:    Objection, calls for

22             speculation.

23                    THE WITNESS:    I didn't arrest the

24             defendant for turning off the power,

25             Your Honor.


                                                               22

 1                    COMMONWEALTH VS. MOBLEY

 2                    MR. ELMORE:    Okay.

 3 BY MR. ELMORE:

 4   Q.    Now it says you spoke to both parties and I

 5   assume that you calmed the situation down; is

 6 that correct, you and your partner?

 7 A.      Correct.
                                Page 24
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                                       smobley(l)

 8   Q.           Now, it says that my client walked, you

 9 followed my client into the basement to get some

10   keys; is that correct?

11   A.          Yes.
12   Q.          Ar;id than you left the basement; is that

13   correct?

14   A.          Correct, followed him back out.

15   Q.          Okay.    And at no point in time that he

16   left, did he give you permission to reenter that

17   location, did he, sir?

18   A.          No, ~?~l.QD~J'_ 5?!1.. ~.<?.C::'Ol!.~C?-~ ·
                  ~--


19   Q.          Okay.    So he was not there.          And you took

20   it upon yourself             let me ask you this.

21   XOU'_~ai..  ?' •W,p~pi )',@U-.fi.r.s,t went ct,own, you, Said(y~OU
22   s~1t       the mari]~.!J:i;lj is that correct?

23   A.          When I first went into the basement?

24   Q.          Yes, when you first went down into the
25   basement?



                                                                               23

 1                        COMMONWEALTH VS. MOBLEY

 2   A.          Correct, wJ1~n I wentef;irstwen.t p;p_wn ;there,
                                                            -
                                                            -,:,.';   .   '·



 3 Your Honor, I ;des.i;:ribed i"t as someone had just

 4   ~t!JOked   mari.Juana.
                                        Page 25
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                                                                      smobley(l)

 5   Q.                 I'm sorry.                          So at that particular point you

 6 wanted to conduct an investigation or you wanted

 7 to search for marijuana; isn't that correct?

 8 A.                  No.             To be honest, Your Honor, somebody
 9   smoking marijuana, especially to target who

10   smoked, I've never arrested somebody for having

11   smoked marijuana that smelled like it.                                                                                      No I was

12   trying to finish that situation and I'm trying to

13   leave the location.

14 Q.                  All right.                           So, officer, you heard of a

15   police radio; is that right?

16   A.                Correct.

17   Q.               You just testified often times you have the

18   ability to secure the location; is that correct,

19   with the police radio, ask for back-up and

20   someone a police officer can stand there and

21   guard the location; isn't that correct?

22   A.               Yea, if
                            -
                              we're going to be holding the house
                        ·~-----     ~·"'   ·-·-·"-~- ---~·-·""--·-~-~- '~-~· ~~"-~--~-   . .-



23   for
     -.----a warrant
                ....
            ----~-
                     or if           there's
                        ...... ... ............
                                  ----~~----~.- ______ ...,,_.,..like a ~~_s_sin_g_ child,
                                                       ,    ,    .._.,              -~




24   yes, there's time that we do need police
            ----   ? ___...   ---~~~.,."'"'--   --   ----   ----------~---~---- ·-----·-·~      ··-··   -·   --   •   -·   -·"




25 personnel on location.
     ---·--------------


                                                                                                                                            24

 1                                          COMMONWEALTH VS. MOBLEY
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                                                                        smobley(l)

 2     Q.                Now at no point in time did my client ask
                       ,---------------·---
 3 you to secure his -- secure the basement door,
      ·--------
 4     did he, sir?
     "----·--·--·-----·. "-,..,
 5     A.
      Q.
                     --  No.

                         And so you took it upon yourself after you

                                                                                                 *
 6
                                                                                     ·j.     .
 7     allegedly smelt marijuana to go Gearching)
                                                                                     ·f-
 8     looking for something to lock, allegedly, the

 9    basement door?

10    A.                Correct, Your Honor.                                  Before he left, there

11 was an agreement between both parties that a lock

12 would be on the door, and they both would each

13    have a key.

14                                      ,.·.~'i\;;h,·.th:t/iel@if?t;~t,~i.ng(·i?'efm~~;·~'t::t.J:tat

15    pq.int and .the defendant no 1ong~:r be~rtl~(On

16    location, yes, · I wen~,. 9qwn into;i:he' bas~men:t.~ to

17    f_~nd someth1n~_,:t:tf se~&fii!~~e.')i,~9r ,i y~~.
18    Q.                You didn't hear anybody screaming down

19    there, or anything of that nature, did you, sir

20    like that, correct?

21    A.                No, Your Honor, my only purpose for going

22    back down there was to find something
                                    .---•'""'" -
       ·--~f•·-•-•-•"._..,_,.- .-~----·•~• ,.~
                                                 to secure
                                                 --··~···~r•·~--~'"''                 ,.,~




23    the door.

24    Q.                You did see in the immediate door area,

25    when you first walk in behind the metal gate,
                                                                         Page 27
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                                              smobley(l)



                                                                                25

 1                        COMMONWEALTH VS. MOBLEY

 2 it's like a vestibule right, a little area,
 3 correct?

 4   A.     Correct.            Yea, there's stairs leading down

 5   to a landing, or something like that, yes.

 6   Q.     And you didn't see anything immediately

 7   right there at this gate or near the door, did

 8   you, sir?

 9 A.       No, I didn't see anything until I was down

10   the steps.

11   Q.     And then you decided well, I'm going to

12   open this door and go search for an item, right?

13   A.     No, Your Honor.                    The second door was open.

14   That was the main concern.                    That door wasn't

15   secured at all.

16   Q.     Okay, so

17   A.     When·! went back downstairs that door was

18   stJll open.

19 Q.       So let me ask you this:                    When you looked in

20   the second area, you didn't see anything that you

21   could lock the door; is that right?

22   A.     I didn't find anything, Your Honor.                       I   was
                           - -----·-...
             •:--...-------------------~·-   "'-


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23   looking around and in the process of looking is

24   when I discovered everything else, I saw

25   everything else.



                                                                     26

 1                   COMMONWEALTH VS. MOBLEY

 2   Q.     As a matter of fact, it's a pretty large

 3 basement, correct?

 4   A.     I   mean it was a decent size.         I   don't

 5   remember the dimensions of it.

 6                   MR. ELMORE:     I    have some pictures,

 7              Your Honor.

 8                   I   would ask that they be marked as

 9               D-1, D-2 and D-3.

10                   You have a copy.

11                   MR. WYNKOOP:        I do.   I would just

12              ask which ones you're handing up.

13                   (Copies of photographs marked

14              Defense Exhibit D-1 through Defense

15              Exhibit No. 3 for identification.)

16 BY MR. ELMORE:

17   Q.    Officer, let me ask you a question:                 The

18   lights were on in the basement; isn't that

19   correct, this was at night, right?
                                 Page 29
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                               smobley(l)

20   A.     Yes, it was nighttime and if I recall

21   correctly, counselor, I believe there were lights

22   in the rear.   I don't remember.       I remember

23   having the flashlight in the front room.

24   Q.     In the front room?

25   A.     In the front section, correct.



                                                                27

 1                  COMMONWEALTH VS. MOBLEY

 2                  MR. ELMORE:    Okay.    I'm going to ask

 3             that we show the officer what's been

 4             marked D-1.

 5                  THE COURT:    What is D-1?

 6                  MR. ELMORE:    D-1 is a picture of the

 7             gate area.

 8                  I'm going to show it to the officer.

 9                  And we'll mark this as D-2.

10                  THE COURT:    What is D-2?

11                  MR. ELMORE:    D-2   is the first

12             initial door that you go into the

13             basement.
14                  D-3 is also a picture of the --
15                  THE COURT:    D-3?

16                  MR. ELMORE:    D-3 is also a picture
                                 Page 30
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                                  smobley(l)

17             of the entryway where the door is that

18             leads into the basement.

19                    (Pause.)

20                    MR. ELMORE:     Where did I stop, D-3?

21                    THE COURT:     Yes.
22                    MR. ELMORE:     D-4 is when you're

23             looking when you first walk through the

24             door that takes you into the basement.

25             That would be D-4.



                                                                   28

 1                    COMMONWEALTH VS. MOBLEY

 2                    (Copy of photograph marked Defense

 3             Exhibit D-4 for identification.)

 4                    MR. ELMORE:     Your Honor, if I may

 5             approach the witness?

 6                    THE COURT:     You may.

 7                    THE CRIER:     Exhibits marked 0-1
 8             through     D-4.

 9                    MR. WYNKOOP:        Your Honor, I don't

10             even think I have D-3, so if I could

11             approach as        well?

12                    THE COURT:     Yes.

13   BY MR. ELMORE:
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                                 smobley(l)

14   Q.     Officer, I have some pictures that have

15   been marked.       Officer, this is the first metal

16   door, correct?

17 A.       Yes, it looks similar.

18                      THE COURT:    Which exhibit is that?

19                      MR. ELMORE:    D-1.

20                      THE COURT:    D-1.     Thank you.

21   BY MR. ELMORE:

22   Q.     And D-3, is that the area when you first go

23   down the basement steps?

24   A.     This area here is what you referred to as

25   the vestibule.       I think I called it a landing,



                                                                    29

 1                      COMMONWEALTH VS. MOBLEY

 2   yea.

 3 Q.       Okay.

 4   A.     That's the stairwell outside of the

 5 basement.

 6   Q.     And D-2 that would be the door where you

 7   come into the basement, right?

 8   A.     (No response.)

 9   Q.     Do you see the shovels right there?

10   A.     Yea,    I   mean, yes, Your Honor.       I   was only
                                     Page 32
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                                 smobley(l)

11   inside the basement one tjme.., so to the best of
                               ~~
12   my knowledge, yes.

13                      THE COURT:     To the best of your

14               recollection?

15                      THE WITNESS:     Yes.

16                      MR. ELMORE:     Okay.

17                      THE COURT:     So D-2 would be the door

18               that goes into the basement?

19                      THE WITNESS:     They're all doors that

20               go into the basement.          It seems to me

21               it's the same door from three different

22               perspectives.

23   BY MR.   ELMORE:

24   Q.       Now, officer, this would be what you viewed

25   once you looked inside?



                                                                    30

 1                      COMMONWEALTH VS. MOBLEY

 2                      THE COURT:     Which exhibit?

 3                      MR. ELMORE:     This is Exhibit D-4.

4 BY MR. ELMORE:

 5   Q.       When you looked inside from the doorway,

6    correct?
7 A.          Yes, there's a partition here, and it
                                      Page 33
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                               smobley(l)

 8   looked like drywall.

 9   Q.     Now, officer, when you're looking at 1

10   through 4, you didn't see any alleged contraband,

11   did you, sir?
12   A.     No, could you repeat your question?

13   Q.     My question is, you didn't see any

14   contraband, right there when you walked through

15   the door?

16   A.     That is correct.

17   Q.     And you had already previously testified to

18   the smell of marijuana, right?

19 A.       Correct.

20   Q.     When you walked back, it was actually

21   searching -- you can say you were searching for a

22   lock or anything, but you were searching that

23   house, that basement area; is that correct?

24                   MR. WYNKOOP:     Objection to

25               searching is a legal conclusion, Your



                                                              31

 1                   COMMONWEALTH VS. MOBLEY

 2               Honor.

 3                   MR. ELMORE:     No, it isn't.

4                    THE COURT:     Sustained.
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                                   smobley(l)

 5   BY MR. ELMORE:

 6   Q.
 7   A.

 8 illegal, or any contraband. I was just looking
    ---------··-·-------------------·-.,·---- ·-----· -··· ·----·-
 9   for something to secure the door.
     ------~    . ---------·--·-·--·---·-
10   Q.       Okay.    And you happened and all this time,

11   you just -- strike that --

12                     Now, officer, you said you had the

13   opportunity to talk to my client outside when you

14   were trying to calm down the arguing, correct,

15   landlord/tenant arguing, correct?

16   A.       Yes.

17   Q.       Okay.    Now during the course of that time

18   you took down information you and your partner,

19   isn't that correct?

20   A.       We were separated Your, Honor, and I

21   believe Officer Lee did most of the dealings with

22        as far as gathering information.

23   Q.       He was gathering information, ID, phone

24   number I take it, any information that you would

25 normally put on a 75-48?


                                                                     32

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                                   smobley(l)

 2   A.         Correct.     That would have been Officer Lee,

 3   I believe I was speaking to the tenants of the

 4       building.

 5 Q.           So at some point Officer Lee felt that he
 6   had retained enough information from this

 7   individual that he told him he could leave if he

 8   wanted to, right?

 9   A.         I can't speculate as to what Officer Lee

10   was feeling.      I wasn't out there with him.                               When

11   I went out to speak to Officer Lee again, the

12   defendant was still there.

13   Q.         My client was still there, okay.

14   A.         Yes.

15   Q.         Now, did youretain his phone number or do

16   you recall Officer Lee retaining his cell phone

17   number?

18   A.         I don't recall.

19   Q.        You don't recall.
               -----··
                                      Now, my client at no
                                    -----~-~--   .......   _.   ____ _____  ,,                .



20   point in time asked you to make sure his building
     -        --------------------~-·- --;·--                    ...... ~-~ ···-···~·-··«-- -~-.

21   was locked and secured, did he, sir?

22 A.           No.

23   Q.        And you said that -- you said that you went

24   back searching back further in the building in

25   the basement.         You said that because you wanted
                                    Pag~   36
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                                                          smobley(l)



                                                                                                                                    33

                1                              COMMONWEALTH VS. MOBLEY

                2 to find a lock of some kind?
                3   A.          I was jg?..t. .Jook:!:_n_JL for an object like more
                               ____ .._.....                   ----·-·-·~··-•-•·•-··-·--·-·-u--·~··~-"·.,• ··--~,·~·-••",•-•••••




                4 of a chain, and Your Honor, as I was just walking
                    ___..------~-~---------~---··-~---~·····----·--·····-··-···                -----·----- ·- ··--"-··-- ...
                5 through looking in the basement that's when I saw
                  ,,---  ·-·--~-"·'--·--
                               .....
                                     -..--------....~------~--------·- . ·---
                6 the stuff.

                7   Q.          Now, did you or your partner attempt to

                8   locate or ask Mr. Mobley if it was okay to secure

                9 this room?              You didn't have any conversation with

               10   him did you, sir?

               11   A.         Your Honor, after it was discovered that a

               12   lock had been placed on it, then we -- I thought

               13   the defendant and the tenants were under

               14   agreement that each would have a key.

               15   Q.         At no point in time did anyone offer you a
                               -.._          --------...-----·--·------·- _______ ..____                                      ,..



·fo._\St.    ~16    key, did they?

            ~ 17 A.            ---
                               No, and I didn't ask for one.
                                    .....·-----~-----~---- ~---·-       -·----- -··~·-'' --"
                                                                                                 *        r-o...\sl

               18   Q.         Okay.           And you took it upon yourself to go

               19   in and look for this item without my client's

               20   permission?

               21   A.         Your client left the location so, yes, I

               22   went into look for something to secure the door.
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                              smobley(l)

23   Q.     And that was even after you had smelt

24   allegedly marijuana?

25   A.     Correct.    When I first went down in there,



                                                            34

 1                  COMMONWEALTH VS. MOBLEY

 2 Your Honor, I was not aware that somebody had

 3 smoked marijuana in the basement.

 4   Q.     You were not aware?

 5   A.     I wasn't concerned that somebody had smoked

 6 marijuana in the basement, no.

 7   Q.     Okay.   And you now -- let me ask you this:

 8 When you say you walked back into the basement,

 9 did the smell of marijuana get stronger or less?

10   A.     After I had seen all the stuff in the back,

11   yes, that's when I approached that, yea, the

12   smell did grow stronger, yes.

13   Q.     So at that point in time, you felt that --

14 you didn't stop and say, I need a warrant or did

15   you keep searching the basement to find the

16 marijuana?

17   A.     No, I didn't search the basement.    I saw

18   all the stuff on top of the desk and I saw the

19   bag there, and as I started walking back, that's
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                              smobley(l)

20   when I could see like the top of the bag with, it

21   looked like bulk marijuana.

22   Q.     Well, you observed the desk and you said

23   that you saw some plastic baggies, isn't thcit

24   right, on the desk?

25   A.     Yea, it looked like a bulk amount of little



                                                            35

 1                 COMMONWEALTH VS. MOBLEY

 2 Ziploc baggies.

 3   Q.     They were Ziploc or sandwich baggies?

 4   A.     No, they weren't sandwich bags.     I   don't

 5   recall seeing them.    It's more what's commonly

 6   used, like nickel or dime bags for marijuana.

 7   Q.     Well, do you remember testifying on April

 8   7th, 2016, at the preliminary hearing.

 9                 THE COURT:     Counsel, please mark for

10             identification.

11                 MR. ELMORE:     This was the notes of

12             testimony.

13                 (Notes of testimony marked Defense
14             Exhibit D-5 for identification.)

15                 THE COURT:     D-5?

16                 MR. ELMORE:     D-5.
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                                 smobley(l)

17                    THE WITNESS:     Yes.

18                    THE COURT:     The date, please?

19                    MR. ELMORE:     That was on April 7th,

20               2016.

21                    THE COURT:     The preliminary hearing?

22                    MR. ELMORE:     The preliminary

23               hearing, yes.

24   BY MR. ELMORE:

25   Q.     And it's on Page 6, Line 12.



                                                                36

 1                    COMMONWEALTH VS. MOBLEY

 2                    It says, "What if anything did you

 3   see in the basement?

 4                    ANSWER:    I did see packaging

 5   material.    Looked like empty -- sandwich --

 6   sandwich baggies on the top of the desk."

 7                    And now today you come into the

 8   courtroom and say you don't recall any sandwich

 9   baggies, is that your testimony?

10 A.       That's correct.        All I remember, they were
11   the Ziploc bags.

12   Q.     so this would have been closer to the date?
13   A.     Correct, Your Honor.        I could have
                                   Page 40
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                               smobley(l)

14   misspoken, but what I recall seeing was the

15   Ziploc bags.

16   Q.     But what you said in here is "sandwich."

17 You believe now you had misspoken?
18   A.     Yes.

19   Q.     Well, what you saw was sandwich baggies,

20   you saw sandwich baggies; isn't that right?

21                  MR. WYNKOOP:     Objection, asked

22             and answered.

23                  THE COURT:     Sustained.

24                  MR. ELMORE:     I have no further

25             questions at this point.



                                                                 37

 1                  COMMONWEALTH VS. MOBLEY

 2                  THE COURT:     Any redirect?

 3                  MR. WYNKOOP:     Briefly, Your Honor.

 4                  THE COURT:     Yes.

 5                  MR. WYNKOOP:     Thank you.

 6

 7                  REDIRECT EXAMINATION

 8

 9   BY MR. WYNKOOP:

10   Q.     When the defendant leaves the basement for
                                 Page 41
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                                      smobley(l)

11   the first time, after he finds his keys, you

12   mentioned that he had left in a hurry.                       Did you

13   hurry out with the defendant?

14 A.

15   Q.

16   A.

17
     fl   ~.


18   Q.        When the defendant left did he ever say

19   anything in any way to exit his basement?

20   A.        In regards to me?

21   Q.        Yea, did he say anything to you when he

22   left?

23   A.        No.     When --

24   Q.        You testified on direct and cross

25   examination he left in a hurry.                 When he left did



                                                                                     38

 1                        COMMONWEALTH VS. MOBLEY

 2   he say, get out of my basement?

 3                        MR. ELMORE:       Objection, Your Honor,

 4                   to the question.

 5                        He never said            that's a

 6                   misc hara ct er i zat ion .   f:t~;s:t¥.~ft1,\t"'' :4n~:,~ he

 7                   oasement .when ~h:e left.
                                        Page 42
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                               smobley(l)

 8                   THE COURT:     Well, he asked the

 9

10             to make a point.

11                   MR. ELMORE:     Okay.

12                   THE COURT:     You can continue.

13   A.    When he        when I saw him apparently

14 walking off in the front, I ~as under the

15   understanding he was going to wait there for the

16 key.
17                   THE COURT:     Before you go I want to

18             ask you.

19                   It's my understanding that after

20             he found the keys in the basement he

21             came outside and there was a discussion

22             between you, he and the tenant, and

23            that there was an agreement that the

24             chain and lock would get put back on

25            and each would get a key.        Is



                                                               39

 1                   COMMONWEALTH VS. MOBLEY
 2             that how that worked?

 3                   THE WITNESS:     Yes, I think that

 4              agreement was made before we went into
                                  Page 43
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                            smobley(l)

 5            the basement, though, Your Honor.       I

 6            think it was locked and then it was

 7            unlocked, and I think that's when they

 8            made the agreement that each would have

 9            a key.    I don't think it was like

10            after.

11               THE COURT:     And then he came out of

12            the basement and the defendant was gone

13            and he took the chain with him?

14               I'm trying to get my timing and

15            sequence down.

16               THE WITNESS:     I didn't notice when

17            the chain was taken at that point.          I

18            just know that he was ~apposed to get a

19            key, the tenant was supposed to keep

20            the key, and he was just walking out

21            front waiting for the *ey, and then

22            when we went to resecure the door, the

23            chain wasn't there.       So, I don't know

24            at what point in time, I don't know if

25            it was when the key was unlocked or


                                                              40

 1               COMMONWEALTH VS. MOBL[V
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                                                               smobley(l)

 2                                  when we left, that he might have

 3                                  grabbed it.

 4                                         All I know is -- after I -- the very

 5                                  next time I saw the defendant he was

 6                                  walking southbound on 63rd Street,

 7                                  returning to the building with that

 8                                  chain in his hand.

 9 BY MR. WYNKOOP:
                                1
10   Q.                tf;   Wh~ii11ti~h~';qe~~~d~u1t
                        ~·,,.t ·.~.·1 ~ ;_~ · · ·-ii.·~ ~:,
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11   li~~:Y6il;• stiJ.i'i;;iit
     71~~~~~ :s:fr~·_,~:_i1-~
                                      h:he~:~~terri~~t?
                     ;:~. :.:-··~:~;,/~.- C'··:ff~:·~'"·1_• //

12   A.               ~~, 1·:~~~-§~~~ioe,.
13   Q.               Okay.                Now, the baggies that you see laid

14 out on top of the desk, irrespective of what we

15   call sandwich or Ziploc, did you recognize those

16   baggies to be for a purpose familiar with your

17   training and experience?

18   A.               Correct, especially coupled with the fact

19   that there was a digital scale there.

20   Q.               And    what purpose through__ y_our_ traJning and
                      _...___._"-... ---------...-' . - .
                                           ~- ~          ~-;        ,_.




21   ____________
     experience did_____you... believe,,     ,,,.   _
                                              those -·baggies
                                .._____________________ .     served?
                                                                   ...                                -      ..     .                  ..




22   A.               Especially because of the smell of the
                      --·--·~----···-··-------·--···--   ···---- - . -    -·   -   . .---~~.--.....   ____ ---···

23   marijuana, I assumed it was to package marijuana.

24                                         MR. WYNKOOP:                   I have nothing

25                              further, Your Honor.
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                           smobley(l)



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 1                COMMONWEALTH VS. MOBLEY

 2                THE COURT:     Anything else, based on

 3                 that?

 4                MR. ELMORE:     No, I have nothing

 5             further, Your Honor.

 6                THE COURT:     Thank you, officer.

 7                THE WITNESS:     May I be excused?

 8                THE COURT:     You may.

 9                THE WITNESS:     Thank you.

10                MR. WYNKOOP:     Your Honor, for the

11             limited purpose of the motion to

12             suppress, only, the Commonwealth would

13             rest.

14                THE COURT:     Defense?

15                MR. ELMORE:     Your Honor, I would

16             move the exhibits in, and I would rest.

17                THE COURT:     May I have the exhibits?

18                MR. WYNKOOP;     And, for the record,

19             the Commonwealth has no objection to
20             D-1 through D-5.
21                THE COURT:     All right.     Defense?

22                MR. ELMORE:     Your Honor, I would ask
                                Page 46
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                           smobley(l)

23             the Court to grant this motion, based

24             on the fact that there's no permission

25                there's no permission and there's no



                                                           42

 1                COMMONWEALTH VS. MOBLEY

 2             exigent circumstances.

 3                Now, the testimony is this occurred

 4             after he allegedly smelled marijuana.

 5             Now the last I checked marijuana was

 6             illegal, even though I don't think it

 7             should be, but it is.

 8                The real issue is, if I decided that

 9             these police officers have the ability

10             to secure a building or anything

11             because they don't want to leave it

12             open, they decided, Judge, well, that

13             would be a great excuse if something

14             goes on on the front porch, well, this

15             door is unlocked, well, I have the

16             responsibility.   That's why they have

17             -- that's why they secure buildings

18             because you don't have a right to go

19             past that threshold.     You don't,
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                               smobley(l)

20            without a warrant.       We hold that very

21            sacred in this country.

22                 He didn't have permission to go

23            inside.    He can go in there and search

24            and talking about plain view, you only

25            have plain view if you're legally where



                                                               43

 1                 COMMONWEALTH VS. MOBLEY

 2            you're supposed to be at.       He's not

 3            legally, without anybody's permission,

 4            inside this basement of the building

 5            owned by this individual.

 6                 He simply don't have permission.

 7            There's no exigent circumstances.          The

 8            only way we can get beyond the

 9            permission is that you have to have

10            exigent circumstances.

11                 Now, in this situation does he say,

12            well, I heard people down there

13            possibly destroying evidence?       No.     Do

14            I   have a situation where a person is

15            hearing something, someone being in

16            danger?    No.
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                            smobley(l)

17                He had other means to protect that

18             location.    He decided not to use it.

19             And it's strange to me that he never

20             found -- he looked in there      maybe

21             somebody's trying to just look in the

22             door and see if there's something

23             there.   There's nothing's there.    So

24             what do you do?

25                We have to secure, let me check with



                                                           44

 1                COMMONWEALTH VS. MOBLEY

 2             my partner if he got his phone number

 3             his cell phone.    I'll call this guy and

 4             tell him, hey the situation here, you

 5             need to come back and lock your door,

 6             or I would ask that we send a detail, a

 7             back-up detail, to secure this location

 8             so no one can enter or leave until we

 9             reach the owner, until it's secured, we

10             come back.

11                That's a lot less intrusive, or

12             someone violating someone's privacy of

13             going inside the house.    Just think
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                            smobley(l)

14            about it.    There's a situation on the

15            porch, and somebody says, oh, I'm going

16            to go inside this house and search

17            around and see if I can find an extra

18            key.

19               It doesn't work like that.      Not i f

20            you're law enforcement.      Let's see if

21            we can reach the owner.      Until that

22            time, we need to secure the house.

23            It's not an apartment.      This is a

24            house.    It's a private building.      You

25            simply do not go rambling through



                                                              45

 1               COMMONWEALTH VS. MOBLEY

 2            someone's private building looking for

 3            something that's not -- I could see

 4            maybe if someone had gotten shot
 5            outside the building and there were

 6            exigent circumstances.      I got to go

 7            inside here to find something to
 8            bandage this individual, you know.         I

 9            need a tourniquet or something.         I got

10            to have something right away, you know,
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                             smobley(l)

11             then they go inside, they look and they

12             go in to grab something and then they

13             see something.

14                Where's the exigent circumstances.

15             There are none.     And therefore, Judge,

16             I would ask you to grant this motion

17             under the United States Constitution

18             and the Pennsylvania; the right to

19             privacy.    This man here did not give

20             him permission to reenter this basement

21             and my client had already left.

22                THE COURT:     Thank you.

23                MR. WYNKOOP:     May I, your Honor?

24                THE COURT:     You may.

25                MR. WYNKOOP:     Thank you.



                                                               46

 1                COMMONWEALTH VS. MOBLEY

 2                Your Honor, my argument is in two

 3             prongs.

 4                First, based on counsel's argument,

 5             constitutional protection, the Court is

 6             well aware, said, particularly to

 7             search, particularly to enter does not
                               Page S1
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                           smobley(l)

 8             have to be verbally spoken.     There's

 9             both verbal and non-verbal

10             communication.

11                What I think Your Honor hedrd toddy

12            was very fairly lengthy criminal

13            testimony from Officer Farley exactly

14             how he got into that basement on that

15             day.

16                He arrives with his partner to calm

17             down a landlord/tenant dispute.     In the

18             capacity of calming that down, they

19             reach an agreement with one of the

20           - tenants, they reach an agreement with

21            the landlord; they're each going to get

22            a key for this lot, securing this

23            basement which as Your Honor will

24            notice from D-1 is entered from outside

25            of the property.      They're both going to



                                                            47

 1                COMMONWEALTH VS. MOBLEY
 2            get a key.   Great.    The defendant says

 3            to Officer Farley, I gotta' get my key

4             out of there, so I got to get in there.
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                          smobley(1)

 5            Great.

 6               They walk into the basement together

 7            talking about landlord/tenant disputes,

 8            possible legality of turning off the

 9            electric on your tenant, they're having

10            a conversation that at no point is

11            coercive, that at no point is coercive,

12            at not point is indicative of custody.

13            They're having what I would describe,

14            Your Honor, for all intense and

15            purposes of the situation a friendly

16            conversation about what the defendant

17            can and cannot do to his tenants, and

18            they arrive in the basement.   At that

19            point the defendant does not turn

20            around and say, get out of my basement.

21            I don't give you permission to be here.

22               At that point it's actually Officer

23            Farley that starts looking for the keys

24            with the defendant.

25               Mr. Elmore's point that at that



                                                       48

 1               COMMONWEALTH VS. MOBLEY
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                              smobley(l)

 2            point ,~fi¢er fZ~!)ley is sm~lling

 3            mariju~ma.      Apparently someone smoked

 4            marijuana down there.        It,\s qurnt
 5            ma~itU,aJ;l/.   He wasn't going to find it.

 6            All he wanted to do was help the

 7            defendant find his keys, and secure the

 8            door, because at this point Your Honor,

 9            this start of it, 10:30 at night, it

10            had to be approaching 11:00, if not

11            later, and the defendant disappears on

12            Officer Farley.

13                Not only that, Officer Farley

14            notices that the chain that had secured

15            this door, which was needing to be

16            resecured at 11:00 at night was gone.

17                So rather than up and leave the

18            area, rather than leave the defendant's

19            door wide open, to what he describes as

20            his office, to what controls the

21            electrical control panel for the entire

22            building, rather than do that, Officer

23            Farley was just looking for the chain
24            that had initially secured it, that the

25            landlord tenant now had a key to.
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                             smobley(l)



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 1                COMMONWEALTH VS. MOBLEY

 2                At no point did the defendant       is

 3            there any testimony that the defendant

 4            withdraws consent; that he says get out

 5            of my basement and at this point we

 6            have conduct, non-verbal conduct that

 7            tells us the defendant had no problem

 8            with Officer Farley being in his

 9             basement.

10                That I believe is the constitutional

11            argument that rebuts counsel's

12            argument, Your Honor, that there's

13            permission given; that that consent was

14            not withdrawn that the defendant had

15            the opportunity to withdraw that

16            consent and didn't; and, therefore,

17            Officer Farley viewed the paraphernalia

18            and marijuana from a legal vantage

19            point thereby it was within the

20            Constitution both the United States and

21            Pennsylvania.

22                The second prong, Your Honor, I
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                                smobley(l)

    23            don't really believe that we reached a

    24            constitutional trigger here, and I

    25            would incorporate my argument from
+

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     1               COMMONWEALTH VS. MOBLEY

     2            Prong I, and I would ask Your Honor to

     3            just consider the testimony of Officer

     4            Farley.    He wasn't looking for

     5            contraband.    He's not down there

     6            looking for anything.      In fact this is

     7            Officer Farley taking a step back from

     8            arresting people, one of the things

     9            that police officers do, to helping and

    10            aiding in the community.     And I think

    11            throughout his testimony we have

    12            examples of him trying to help the

    13            community; not lock anybody up, not

    14            search for contraband, not jam up the

    15            defendant and find contraband in his

    16            basement, he's trying to help.

    17               I   don't believe that at any point

    18            here, anything that he does either on

    19            the premises or to the defendant
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                               smobley(l)

20            triggers the Constitution.       Because

21            there's no Constitutional triggers this

22            motion is not ripe.

23               I think everything that Officer

24            Farley did while he was within the

25            confines of the Constitution are legal



                                                         51

 1               COMMONWEALTH VS. MOBLEY

 2            and doesn't trigger the Constitution.

 3               Officer Farley was trying to help

 4            this man.       While doing that he

 5            discovered what he believed to be bulk

 6            marijuana through his training and

 7            experience, from a legal vantage point,

 8            and while we're talking about

 9            constitutional triggers, Officer Farley

10            again credibly testifies as soon as I

11            saw the scale and the bulk marijuana I

12            stopped,    I   left.

13               It's at that point he's gone from
14            aiding the community to his other role

15            as a police officer which is

16            investigating what he believes to be a
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                            smobley(l)

17            crime.    And he takes those clear and

18            articulable facts he gives them to his

19            supervisor, they give them to

20            Philadelphia detectives and a search
21            warrant is legally obtained.

22               At that point a search warrant is

23            executed, but at no point is the

24            constitution violated and I don't

25            believe at any point do I think the



                                                         52

 1               COMMONWEALTH VS. MOBLEY

 2            Constitution was triggered and I'd ask

 3            Your Honor to deny the motion to

 4            suppress.

 5               THE COURT:    Thank you.

 6               It's an interesting issue, but

 7            these are certainly fact specific; the
 8            officer arrives on the scene and

 9            there's some type of argument between

10            the landlord and the tenant, and

11            they're trying to get it resolved.       And

12            it seems that part of the resolution

13            was that the chain and padlock would be
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                            smobley(l)

14            replaced on the door and each one would

15            have a key.

16               When the defendant first initially

17            said he had to get a key before he

18            wanted to leave, he couldn't find it

19            and the officer accompanied him in the

20            basement without protection.

21               So then when they come back out to

22            close the deal, so to speak, to put the

23            chain and the padlock back on the door

24            the defendant's missing, and so is the

25            chain, but the door's wide open.



                                                          53

 1               COMMONWEALTH VS. MOBLEY

 2               So the officer has no idea as to

 3            whether the chain was taken, was

 4            inside, was outside.       If the officer

 5            leaves and leaves the door wide open

 6            and all kinds of damage happens, then

 7            you're going to hear hell.       But the

 8            door was open the door was never

 9            secured and the officer credibly

10            testified that he just went there to
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                          smobley(l)

11            see if the chain was there so he could

12            fasten the door because he knew the

13            landlord had a key, and in that,

14            looking for that chain, which was
15            agreed upon was when he noticed the

16            thing on the defendant's desk and then

17            the bulk marijuana.

18               I don't see that the constitutional

19            protections of entering into someone's

20            home in this particular case, given all

21            of the facts and circumstances, and the

22            interchange between this defendant and

23            this officer, and what was happening in

24            the agreements that were made, tried to

25            keep the peace, that the officer made



                                                         54

 1               COMMONWEALTH VS. MOBLEY

 2            an entry without permission or lack

 3            thereof, and for those reasons I will

4             deny the motion to suppress.
 5               MR. WYNKOOP:   And, Your Honor, I

 6            will be ready to proceed to trial.     I

 7            just need to wrangle my detective and

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                            smobley(l)

 8            my chemist.

 9               (Pause.)

10               MR. WYNKOOP:     Your Honor, with the

11            court's permission there were two

12            detectives that were present that day.

13               (Pause.)

14               MR. ELMORE:     This is the detective

15            who did what?

16               MR. WYNKOOP:     Who did the search.

17            It's on the paperwork.     The two of them

18            executed the search together.

19               THE COURT:     If you think you need

20            the other officer, I'll give this a

21            date.

22               MR. ELMORE:     No, we don't want a

23            date.

24               THE COURT:     Okay.

25               MR. WYNKOOP:     So I could just let



                                                         55

 1               COMMONWEALTH VS. MOBLEY

 2            the detective look over the paperwork

 3            and the property receipts

 4               THE COURT:     Sure.
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                            smobley(l)

 5               MR. WYNKOOP:     -- and I'll call him

 6            to testify.

 7               (Pause.)

 8               MR. ELMORE:     Your Honor, we hcive not

 9            colloquyed my client and I just got to

10            talking to my client, and he's going to

11            demand a jury.
12               He called me in the back.

13               MR. WYNKOOP:     May I release

14            everybody?

15               THE COURT:     You may.

16

17               (Motion to suppress concluded.)

18

19

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                            smobley(l)

 2               C E RT I F I CAT I 0 N

 3

 4

 5                I hereby certify that the

 6            proceedings and evidence are contained

 7            fully and accurately in the notes taken

 8            by me on the matter of the above cause,

 9            and this copy is a correct transcript

10            of same.

11

12
             KIM TOWARNICKI
13           Official Court Reporter

14

15               (THE FOREGOING CERTIFICATION OF THIS

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